        Case 24-12896-pmm          Doc 15     Filed 09/30/24 Entered 09/30/24 14:31:00             Desc
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Form OL241 (3/23)


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                 )
    James Dru DeMarco                                  )          Case No. 24−12896−pmm
                                                       )
                                                       )
     Debtor(s).                                        )          Chapter: 13
                                                       )
                                                       )


                                                   ORDER

       AND NOW, it is ORDERED that since the debtor(s) have failed to timely file the documents required by the
order dated 09/16/2024, this case is hereby DISMISSED.



                                                                  _______________________________
  Date: September 30, 2024                                        Patricia M. Mayer
                                                                  Judge, United States Bankruptcy Court


Missing Documents:
Atty Disclosure Statement
Chapter 13 Plan
Schedules AB−J
Statement of Financial Affairs
Summary of Assets and Liabilities
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period Form 122C−1
Means Test Calculation Form 122C−2
